
The Supreme Court affirmed the judgment of the Common. Pleas on May 21st, 1883, in the following opinion :
Per Curiam.
The policy does not contain a warranty as to the correctness^ of the answer. It would therefore have been error had the-Court affirmed the points submitted by plaintiff in error. Mrs. Ickes distinctly told the agent that she had no record of her age, hut stated, to the best of her knowledge, what her age-was. The'se facts were communicated to the home office before the risk was taken. With that knowledge the Company concluded to trust her uncertain statement, and issued the policy. The jury have found that she made the statement with entire-good faith, and without any intention to deceive the company. The latter took the premium, running the risk of the age as-represented not being accurate. In the absence of fraud, deceit, or warranty, we see no error in the record.
Judgment affirmed.
